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17                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF CALIFORNIA
18
19   MICHAEL TESTONE, COLLIN SHANKS,
                                                      Case No: 3:19-cv-00169-JLS-BGS
     and LAMARTINE PIERRE, on behalf of
20
     themselves, all others similarly situated, and
                                                      MEMORANDUM OF POINTS &
21   the general public,
                                                      AUTHORITIES IN SUPPORT OF
22                                                    PLAINTIFF’S MOTION FOR CLASS
                  Plaintiffs,
                                                      CERTIFICATION
23
     vs.
24                                                    Judge:    Hon. Janis L. Sammartino
                                                      Date:     May 20, 2021
25   BARLEAN’S ORGANIC OILS, LLC,
                                                      Time:     1:30 p.m.
26                                                    Court:    4D – 4th Floor
                  Defendant.
27
28

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1                                         INTRODUCTION
2          Plaintiffs Michael Testone, Collin Shanks, and Lamartine Pierre brought this action on
3    January 24, 2019, asserting class claims under California and New York law for consumer
4    fraud relating to Defendant Barlean’s Organic Oils, LLC’s (“Barlean’s”) labeling of its 16-,
5    32-, and 60-ounce sizes of its Virgin, Culinary, and Butter Flavored Coconut Oils (the
6    “Coconut Oils”). Plaintiffs now seek class certification of the following two Classes:
7          The California Class: All persons in California who, between January 24,
8          2015 and the date the Class is notified of certification, purchased any of the
9          Barlean’s Coconut Oils for household use and not for resale.
10         The New York Class: All persons in New York who, between January 24,
11         2016 and the date the Class is notified of certification, purchased any of the
12         Barlean’s Coconut Oils for household use and not for resale.
13         On behalf of the California Class, Testone and Shanks bring claims under California’s
14   Unfair Competition Law, Cal. Bus. & Prof. Code §§ 17200 et seq. (“UCL”), False
15   Advertising Law, id. §§ 17500 et seq. (“FAL”), and Consumers Legal Remedies Act, Cal.
16   Civ. Code §§ 1750 et seq. (“CLRA”), and for breach of express and implied warranties. On
17   behalf of the New York Class, Pierre brings claims under New York’s Unfair and Deceptive
18   Business Practices Law, N.Y. Gen. Bus. L. § 349 (“NY UDBP”), and False Advertising Law,
19   N.Y. Gen. Bus. L. § 350 (“NY FAL”).
20         To show violations of these statutes, Plaintiffs advance three theories of liability. First,
21   Plaintiffs allege that each Coconut Oil bears statements conveying a health message (the
22   “Challenged Claims”) that is misleading in light of scientific evidence concerning the
23   detrimental health effects of consuming coconut oil. See Dkt. No. 35, First Am. Compl.
24   (“FAC”) ¶¶ 1, 37-47. Second, Plaintiffs allege Barlean’s was obligated, but failed to disclose
25   material information about the dangers of consuming the Coconut Oils. See id. ¶¶ 76-77.
26   Third, Plaintiffs allege Barlean’s labeled the Coconut Oils with unauthorized nutrient content
27   claims, rendering them misbranded. See id. ¶¶ 78-123.
28         The Court should certify each Class because Plaintiffs demonstrate below that all the
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1    requirements of Rules 23(a) and 23(b)(3) are satisfied. First, to show Rule 23(a)(1)’s
2    numerosity requirement is satisfied, Plaintiffs provide evidence of thousands of units sold.
3    For Rule 23(a)(2) commonality, Plaintiffs show each class member was exposed to the same
4    messaging, and that determining whether it is misleading, unlawful, or in breach of warranty
5    will be answered the same for all class members. For typicality, Plaintiffs show all Class
6    Members share the same legal theories, challenge the same conduct, and suffered the same
7    injury, paying a premium for the Coconut Oils due to the Challenged Claims. And for
8    adequacy, Plaintiffs demonstrates they and their counsel have no conflicts with the Class, and
9    will continue vigorously prosecuting the case on its behalf.
10            Plaintiffs also demonstrate that Rule 23(b)(3)’s requirements are satisfied. They show
11   that the predominating common questions are whether the Challenged Claims and omissions
12   are misleading to the reasonable consumer or in violation of FDA regulations, rendering the
13   products misbranded. These questions can be answered through common evidence and
14   objective standards that do not depend on the situations of any individual Class Member. If
15   Barlean’s is liable, what it owes each Class can be calculated based on the price premium
16   associated with the Challenged Claims and omissions, whether unlawful or misleading. To
17   calculate this premium, the Classes will use a widely-accepted damages model, conjoint
18   analysis, to ensure any damages awarded are attributable only to Barlean’s conduct creating
19   the legal liability. Finally, Plaintiffs show class treatment is superior because adjudicating the
20   Class Members’ claims individually is economically infeasible.
21                FACTS & EVIDENCE SUPPORTING THE CLASSES’ CLAIMS
22   I.       BARLEAN’S MARKETS THE COCONUT OILS AS HEALHTY
23            Barlean’s considers itself “a health and wellness company,” with that positioning being
24   a “core” part of its brand “identity.” See Ex. 1, 1 Puckett 30(b)(6) Dep. Tr. at 96:7-18. It has
25   been selling its 16 oz. Virgin Coconut Oil since at least 2012, and introduced the other
26   Coconut Oil sizes and varieties at different times from 2014 to 2017. Ex. 2, Barlean’s Third
27
28   1
         All Exhibit references are to the concurrently-filed Declaration of Paul K. Joseph.
                                                      2
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1    Suppl. Response to Interrogatory No. 1; see generally Ex. 3 (label proofs). Knowing its
2    customers are particularly interested in health and wellness, see Ex. 1, Puckett 30(b)(6) Dep.
3    Tr. at 96:3-6, Barlean’s sells its Coconut Oils primarily in the “natural” channel, which
4    includes retailers like Sprouts, and in health-food stores, see id. at 149:21.
5          There are three varieties of Barlean’s Coconut Oils at issue in this case: Virgin,
6    Culinary or Gourmet, and Butter Flavored. Although they bear different names, their
7    composition is materially the same, each comprised almost entirely of organic coconut oil.
8    The only differences among the products is that the Culinary and Butter Flavored Coconut
9    Oils undergo a refining process that includes steaming to remove the coconut smell and taste, 2
10   which the Virgin does not; and butter flavoring is added to the Butter Flavored Coconut Oil.
11   That refining or flavoring does not, however, change the product’s nutritional profile: all three
12   varieties contain 14 grams of total fat, and 12 grams of saturated fat, in a 14-gram (1
13   tablespoon) serving. Thus, the Coconut Oils’ nutritional composition is materially the same.
14         Barleans knows consumers “WANT—AND PAY MORE FOR—HEALTHIER
15   SNACK CHOICES.” See Ex. 4 at BAR26867; see also Ex. 1, Puckett 30(b)(6) Dep. Tr. at
16   96:23-97:3 (“Are the health properties of the Barlean’s coconut oils important to its
17   purchase[r]s?” A. “Yes.”). It “consider[s] the labeling of [its] products to be part of [its]
18   marketing strategy,” and tries to “communicate messages that appeal to consumers,” thereby
19   “inspir[ing] them . . . [to] purchase it,” Ex. 1, Puckett 30(b)(6) Dep. Tr. at 120:17-121:1. Thus,
20   throughout the Class Period, Barlean’s intentionally labeled each Coconut Oil with
21   statements that “convey the message that the product is healthy.” See id. at 165:2-13.
22         Barlean’s conveys that the Coconut Oils are healthy in three main ways. Sometimes
23   the message is express. For example, each Culinary label claims to be the “ultimate” or
24
25   2
       The 60-fluid ounce sized “Culinary” label produced by Barlean’s actually bears the
26   descriptor “Gourmet,” see Ex. 3 at p. 44 (BAR27184), but like Barlean’s Culinary Coconut
27   Oil in 16- and 32-ounce sizes, it is refined to remove the coconut taste and smell, and bears
     the same claim that it is “for health-conscious gourmets.” For simplicity, this brief refers to
28   this product, regardless of size, as Barlean’s “Culinary Coconut Oil.”
                                                     3
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1    “ideal” cooking oil “for health-conscious gourmets.” See Ex. 3 at pp. 40-44. Barlean’s chose
2    this phrase “to appeal to consumers that are interested in health and wellness,” and “to convey
3    the message that the product is healthy.” See Ex. 1, Puckett 30(b)(6) Dep. Tr. at 165:2-13.
4    The Butter Flavored Coconut Oil label similarly claimed it was “a healthy alternative to
5    butter,” Ex. 3 at pp. 46, 47, 48, 50, or provided “The Health Benefits of Coconut Oil” with
6    the taste of butter, id. at pp. 46, 49. Claims like “SUPERFOOD,” “Harvested at peak of . . .
7    nutrition,” and “SMART FAT” on some Coconut Oils, also convey an express health
8    message. See Ex. 1, Puckett 30(b)(6) Dep. Tr. at 128:21-24 (“Q: Does the -- does the term
9    ‘superfood’ convey the message that the product is healthy? A. Yes.”); id. at 148:13-149:8
10   (“Harvested at peak of . . . nutrition” or “nutritional value” is intended to convey that the
11   coconuts are “being picked at [their] healthiest point.”); id. at 157:7-17 (admitting “SMART
12   FAT” is “intended to convey the message that the product is healthy”).
13         Barlean’s also suggests the Coconut Oils are healthy by highlighting their medium-
14   chain triglycerides (MCT) content, claiming MCTs “are teeming with health benefits.” See
15   Ex. 5 at BAR53605; see also Ex. 3 at p. 49 (MCT claims include “The Health Benefits of
16   Coconut Oil,” and “All the Healthy MCTs of our Regular Coconut Oil” on Butter Flavored
17   Coconut Oil). Barlean’s testified that “the term ‘MCT,’ absolutely” “appeals to consumers,”
18   see Ex. 1, Puckett 30(b)(6) Dep. Tr. at 134:19-22, especially “those that shop in the natural
19   channel” who “tend to be better educated and . . . more sophisticated and . . . would understand
20   what those claims mean and the implications of those claims,” id. at 150:12-20.
21         Barlean’s also conveys a health message by highlighting the absence of nutrients
22   consumers consider unhealthy, with labeling claims like “Non-Hydrogenated,” “No Trans
23   Fat,” and “No Cholesterol.” See Ex. 3 at pp. 31-50 (exemplary labels). Asked “why it is
24   important to point out that” the Coconut Oils have “No Cholesterol,” Barlean’s testified it is
25   “for obvious reasons,” namely “people don’t want to be intaking cholesterol,” and are
26   “watching it. So us calling out no cholesterol, they don’t even have to think about it anymore.”
27   See Ex. 1, Puckett 30(b)(6) Dep. Tr. at 133:19-134:8. As Barlean’s knows, these claims
28   appeal to consumers. See id. at 135:2-6 (“Q. Do the terms ‘no trans fat’ and no cholesterol . .
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1    . appeal to consumers? A. [Y]es. It would appeal to me.”). 3
2          In marketing its Coconut Oils as healthy, Barlean’s was intentionally consistent in its
3    messaging across the products and their labels. See Ex. 1, Puckett 30(b)(6) Dep. Tr. at 123:21-
4    124:4 (it is “important to Barlean’s that its marketing messages for its coconut oils are
5    consistent,” because “you would confuse the consumer if it’s not consistent”). Barlean’s even
6    has “processes or systems in place to ensure that the marketing strategy and . . . the key selling
7    points for its coconut oil products is consistent between the products.” Id. at 122:4-10. Thus,
8    although Barlean’s utilized different background colors to distinguish the labels for the Virgin
9    (black), Culinary (off-white), and Butter Flavored (yellow) Coconut Oils, all labels bear terms
10   and phrases that Barlean’s intended to convey the same key message—that the Coconut Oils
11   are healthy. See, e.g., id. at 159:19-23 (“Q. Does this label of the organic virgin coconut oil,
12   . . . essentially convey the same health message as the butter coconut oil labels? A. Yes.”);
13   see also id. at 160:22-25 (agreeing the “32-fluid-ounce Virgin Coconut Oil] label conveys
14   essentially the same health message as the 16-ounce version”).
15         Similarly, when certain Coconut Oil labels were refreshed, the messaging remained
16   consistent. See id. at 143:8-12 (“Q. Was Barlean’s trying to convey the same message
17   regarding the health benefits of the products with this [Butter Flavored] label as with the
18   previous [Butter Flavored] label? A. Yes.”); id. at 161:16-20 (“Q. You weren’t intending to
19   change the messages conveyed between the third and fourth version of the virgin coconut oil,
20   32-ounce labels, were you? A. No.”); id. at 164:9-13 (“Q. Okay. As with the . . . 16-ounce,
21   [‘Cholesterol-free’ and ‘non-hydrogenated’] are essentially the same changes that occurred
22   on the 16-ounce; is that correct? A. As far as I know.”).
23         Based on this consistent messaging, Barlean’s sometimes promotes its Coconut Oils
24   together. One promotional flyer, for example, promoted Barlean’s Virgin and Culinary
25   Coconut Oil together as a “Superfood,” that is “IDEAL FOR THE HEALTH CONSCIOUS
26
27   3
       “Non-Hydrogenated” and “No Trans Fat” mean essentially the same thing, since artificial
28   trans fat is created through the process of partial hydrogenation.
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1    GOURMET” and has “Lauric Acid” and other “MCTs for Brain Health,” along with “No
2    Trans Fat.” Ex. 6, at BAR340; see also Ex. 5 at BAR53603 (“this all-star ingredient is packed
3    with healthy fat”); id. at BAR053605 (“One tablespoon contains . . . •14 grams healthy fat •
4    6,200 mg lauric acid to support healthy metabolism • 640 mg caprylic acid, which is an
5    antifungal • 550 mg capric acid to support healthy inflammation response” and “Cholesterol
6    free,” “Non hydrogenated,” “No trans fat.”); Ex. 7, at BAR3090 (“BENEFITS of MCTs in
7    COCONUT OIL” include, inter alia, “cardiovascular benefits” and “cellular metabolism”).
8    II.    THE COCONUT OILS BORE UNAUTHORIZED NUTRIENT CONTENT
9           CLAIMS
10          During the entire Class Period, each of the Coconut Oils’ labels bore unauthorized
11   nutrient content claims, rendering each misbranded. See FAC ¶¶ 89-123 (alleging violations
12   of 21 C.F.R. §§ 101.13(h)(1), 101.54, 101.62, 101.65). For example, “No Trans Fat” and
13   “Non-Hydrogenated” are nutrient content claims under FDA regulations because they
14   “characterize[] the level of a nutrient,” 21 C.F.R. § 101.13(b), namely trans fat. See 64 Fed.
15   Reg. 62746, 62762 (Nov. 17, 1999) (FDA “considers statements such as ‘no hydrogenated
16   oils’ or ‘hydrogenated fat free’ to be implied [nutrient content] claims that a product is free
17   of trans fatty acids”). But they are unauthorized nutrient content claims because foods that
18   contain more than 13 grams of total fat or 4 grams of saturated fat per serving—like each of
19   the Coconut Oils—may only bear nutrient content claims if they also bear the disclosure
20   statement, “See nutrition information for total fat and saturated fat content.” See FAC ¶¶ 99-
21   101 (quoting 21 C.F.R. § 101.13(h)), which the Coconut Oils do not. Similarly, foods must
22   “contain less than 2 grams of saturated fat” to make “Cholesterol Free” claims. See 21 C.F.R.
23   § 101.62(d)(1). And to “use the term ‘healthy’ or related terms,” a food must be low in total
24   and saturated fat, which is defined as “3g or less” total fat and “1 g or less” saturated fat. See
25   id. § 101.65(d)(2). No Coconut Oils qualify to make “Cholesterol Free” or “healthy” claims.
26   III.   PLAINTIFFS PURCHASED BARLEAN’S COCONUT OILS BELIEVING
27          THEY WERE HEALHTY
28          California Plaintiff Collin Shanks purchased Barlean’s Virgin and Butter Flavored
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1    Coconut Oils during the Class Period in reliance on the labeling message, that “this is a very
2    healthy fat,” Ex. 8, Shanks Dep. Tr. at 57:3-9, and “a healthy oil,” id. at 81:14-82:5; see also
3    id. at 39:17-19, 43:17-22, 44:8-10, 48-3-5, 51:6-25, 54:15-55:3, 57:3-9, 69:4-70:22, 82:6-
4    83:10; Shanks Decl. ¶¶ 2-12. California Plaintiff Michael Testone also purchased Barlean’s
5    Virgin Coconut Oil during the Class Period relying on the Challenged Claims that positioned
6    it as providing “a positive health benefit,” Ex. 9, Testone Dep. Tr. at 31:4-17, 32:3-8; see also
7    id. at 25:9-12, 26:16-27:5, 27:23-28:5, 38:14-16, 38:25-39:6; 29:21-31:17, 32:3-8 36:6-10,
8    36:17-19; Testone Decl. ¶¶ 2-6. Likewise, New York Plaintiff Lamartine Pierre purchased
9    Barlean’s Virgin Coconut Oil “relying on the health benefits on the packaging label,” Ex. 10,
10   Pierre Dep. Tr. at 19:4-8; see also id. at 17:21-18:5, 21:13-16, 18:15-23, 19:9-13, 19:20-22,
11   21:21-22:1, 22:24-23:15, 27:21-28:3, 31:10-12; Pierre Decl. ¶¶ 2-4. Had Plaintiffs known
12   about the health detriments of consuming the Coconut Oils, they would not have purchased
13   them. See Shanks Decl. ¶ 12; Testone Decl. ¶ 6; Pierre Decl. ¶ 5.
14   IV.   THE BARLEAN’S COCONUT OILS ARE NOT HEALTHY
15         On behalf of Plaintiffs, Dr. Michael Greger performed a comprehensive literary
16   review, see Greger Decl. at 3-6, confirming what leading experts have known for decades:
17   consuming coconut oil—which is over 90 percent saturated fat—consistently and
18   unequivocally increases LDL-cholesterol, total cholesterol, inflammation, and impairs
19   critical arterial function. These physiological effects are well understood, and there is
20   scientific consensus that they directly increase risk of cardiovascular disease, stroke, and
21   other serious illnesses.
22         Decades of research establishes with medical certainty that “total and LDL cholesterol
23   blood levels are two of the most important risk factors in predicting coronary heart disease
24   (CHD), with higher total and LDL cholesterol levels associated with increased risk of CHD.”
25   Id. at 8. And studies on coconut oil consumption “consistently” show it causes “a pronounced
26   negative physiological impact that increases risk of cardiovascular disease.” Id. Because the
27   increased risk of cardiovascular disease for a given increase in LDL-cholesterol level is so
28   well established, researchers performing a year-long study were able to demonstrate that
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1    reducing coconut oil consumption to 0.75 tablespoons, from 2.75 tablespoons per day,
2    lowered participants’ LDL cholesterol by 21.8% and total cholesterol by 11.9%, reducing
3    coronary morbidity and mortality risky by 6-8%. See id. at 9-10 (citation omitted).
4          Coconut oil also significantly increases CHD risk by increasing inflammation, and
5    impairing both arterial endothelial function and the anti-inflammatory properties of “good”
6    HDL cholesterol. Id. at 8, 14-15. And coconut oil’s detrimental health effects are not limited
7    to long-term consumption, but are immediate. Studies show eating a single meal containing
8    coconut oil can, within hours, “significantly raise cholesterol levels and inhibit arterial
9    endothelial function,” both “key risk factors,” id. at 8-9 (citations omitted).
10         The evidence of coconut oil’s harmful effects continues to grow. An intervention trial
11   published this March found participants who consumed 2 tablespoons daily suffered, within
12   a month, an average 14% increase in LDL cholesterol compared to a control group, signifying
13   an even greater risk of coronary death or heart attack.” Id. at 11 (citation omitted). “[U]sing
14   the best available estimate of a 23% change in risk of major vascular events for each mmol/L
15   change in LDL, daily incorporation of under 3 tablespoons of coconut oil in the diet for a
16   period of just six months might be expected to raise the risk of coronary death or heart attack
17   7%.” Id. at 13 (citations omitted).
18         In sum, “scientific literature demonstrates that coconut oil consumption substantially
19   increases cardiovascular and metabolic disease risk by adversely affecting blood lipids, artery
20   function, and insulin sensitivity.” Id. at 1. Thus, “consuming coconut oil is unhealthy as
21   coconut oil consumption causes significant harm to health[.]” Id.
22   V.    BARLEAN’S KNOWS BUT INTENTIONALLY FAILS TO DISCLOSE THAT
23         ITS COCONUT OILS ARE NOT HEALTHY
24         During the Class Period, Barlean’s was well-aware that consuming coconut oil is
25   harmful to health. For example, in June of 2017, the American Heart Association warned that
26   “because coconut oil increases LDL cholesterol, a cause of [cardiovascular disease], and has
27   no known offsetting favorable effects, we advise against the use of coconut oil.” See FAC ¶
28   68 (quoting AHA, Dietary Fats and Cardiovascular Disease, Circulation (June 15, 2017)).
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1    The very next day, an email was sent to Barlean’s then-CEO, John Puckett, among other
2    executives, noting the “statement from the American Heart Association that Coconut Oil is
3    NOT good for you.” Ex. 11, at BAR19184. Less than 15 minutes later, Ms. Nielson, wrote
4    “Ohhhhhhh! Not good!,” and inquired whether “there is a chance [Barlean’s former Director
5    of Education] could write a rebuttal to this?” Id. at BAR19183.
6          On June 23, 2017, a link to an article titled, “Why Coconut Oil Won’t Kill You, But
7    Listening to the American Heart Association Might!” was circulated to Barlean’s customer
8    service team, noting that “this site would be a good referral to give the customer as we have
9    to be careful what we say in regards to the recent ‘study,’ but still need to remain positive as
10   coconut oil is a part of our bread and butter.” Ex. 12, at BAR3121 (emphasis added).
11   Privately, though, Barlean’s knows that it “can’t have ‘healthy’ associated with coconut oil.”
12   See Ex. 13, at BAR53783.
13                                       LEGAL STANDARD
14         Under Federal Rule of Civil Procedure 23, “‘[a] class action may be maintained’ if two
15   conditions are met: The suit must satisfy the criteria set forth in subdivision (a) (i.e.,
16   numerosity, commonality, typicality, and adequacy of representation), and it also must fit
17   into one of the three categories described in subdivision (b).” Shady Grove Orthopedic
18   Assocs., P.A. v. Allstate Ins. Co., 559 U.S. 393, 398 (2010). But these are the only criteria that
19   must be met. Briseno v. ConAgra Foods, Inc., 844 F. 3d 1121, 1124-26 (9th Cir. 2017). This
20   is because “Rule 23 grants courts no license to engage in free-ranging merits inquiries at the
21   certification stage.” In re Qualcomm Antitrust Litig., 328 F.R.D. 280, 294 (N.D. Cal. 2018)
22   (quoting Amgen Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S. 455, 466 (2013) [“Amgen”]).
23   Although a certification motion requires a district court to conduct a “rigorous analysis” that
24   “[f]requently . . . will entail some overlap with the merits,” Wal-Mart Stores, Inc. v. Dukes,
25   564 U.S. 338, 351 (2011) [“Dukes”], the merits may be considered “only” to “determin[e]
26   whether the Rule 23 prerequisites to class certification are satisfied.” Amgen, 568 U.S. at 466.
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1                                            ARGUMENT
2    I.    THE REQUIREMENTS OF RULE 23(A) ARE SATISFIED
3          A.     Numerosity
4          Rule 23(a)(1) is satisfied if “the class is so numerous that joinder of all members is
5    impracticable,” Fed. R. Civ. P. 23(a)(1). Here, according to Barlean’s, it has sold thousands
6    of units of the Coconut Oils in both California and New York, Ex. 2, Barlean’s Third Suppl.
7    Response to Interrogatory No. 5, easily satisfying numerosity. See Nunez v. BAE Sys. San
8    Diego Ship Repair Inc., 292 F. Supp. 3d 1018, 1032 (S.D. Cal. 2017) (Sammartino, J.).
9          B.     Commonality
10         Rule 23(a)(2) is satisfied if “there are questions of law or fact common to the class,”
11   Fed. R. Civ. P. 23(a)(2), which means that “the class members have suffered the same injury,”
12   so that their claims “depend upon a common contention . . . . [whose] truth or falsity will
13   resolve an issue that is central to the validity of each one of the claims in one stroke.” Dukes,
14   564 U.S. at 350. “What matters to class certification . . . is not the raising of common
15   questions . . . but, rather, the capacity of a classwide proceeding to generate common answers
16   apt to drive the resolution of the litigation.” Arroyo v. United States Dep’t of Homeland Sec.,
17   2019 WL 2912848, at *9 (C.D. Cal. 2019) (citing Dukes, 564 U.S. at 350). Questions “have
18   that capacity” when they have a “close relationship with the . . . underlying substantive legal
19   test.” Jimenez v. Allstate Ins. Co., 765 F.3d 1161, 1165 (9th Cir. 2014).
20         In the Ninth Circuit, “Rule 23(a)(2) has been construed permissively . . . . The existence
21   of shared legal issues with divergent factual predicates is sufficient, as is a common core of
22   salient facts coupled with disparate legal remedies within the class.” Arroyo, 2019 WL
23   2912848 at *9 (citing Staton v. Boeing Co., 327 F.3d 938, 953 (9th Cir. 2003)). Common
24   exposure to the same violations creates a “common nucleus of operative facts” sufficient to
25   find commonality. Bee, Denning, Inc. v. Capital All. Grp., 310 F.R.D. 614, 626 (S.D. Cal.
26   2015). Therefore, “[n]umerous courts have recognized that a claim concerning alleged
27   misrepresentations on packaging to which all consumers were exposed is sufficient to satisfy
28   the commonality requirement because it raises the common question of whether the
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1    packaging would mislead a reasonable consumer.” Broomfield v. Craft Brew All., Inc., 2018
2    WL 4952519, at *5 (N.D. Cal. Sep. 25, 2018) (collecting cases). Here, the Coconut Oils were
3    labeled with statements that Plaintiffs allege convey a deceptive health message and render
4    them misbranded. Under California and New York’s consumer protection statutes, which
5    apply an objective reasonable consumer standard, common questions include “what does the
6    marketing combination mean to a reasonable consumer[,]” Goldemberg v. Johnson &
7    Johnson Consumer Cos., Inc., 317 F.R.D. 374, 399 (S.D.N.Y. 2016), and whether that
8    message “would be deceptive to a reasonable consumer,” In re Coca-Cola Prods. Mktg. &
9    Sales Practices Litig., 2020 WL 759388, at *10 (N.D. Cal. Feb. 14, 2020).
10         This is true even though Barlean’s conveyed the health message through various
11   combinations of words and phrases. See Allen v. Similasan Corp., 306 F.R.D. 635, 647-48
12   (S.D. Cal. 2015) (“Given the uniformity of the efficacy representations, the Court is not
13   persuaded that the small differences in labeling would cause individual issues to
14   predominate.”); cf. Fitzpatrick v. Gen. Mills, Inc., 263 F.R.D. 687, 693-94 (S.D. Fla. 2010)
15   (predominance met where “each plaintiff was likely exposed to a unique array of advertising
16   statements,” but defendant nevertheless “convey[ed] the common message that eating Yo-
17   Plus aids in . . . digestive health” (emphasis added)), vacated on other grounds, 635 F.3d
18   1279 (11th Cir. 2011). Because all Class Members were exposed the challenged labeling, and
19   “because deception and materiality are objective questions, they are ‘“common question[s]”
20   for purposes of Rule 23(b)(3).’” Hadley v. Kellogg Sales Co., 324 F. Supp. 3d 1084, 1115
21   (N.D. Cal. 2018) (alteration in original) (quoting Amgen, 568 U.S. at 467). Thus, as courts
22   routinely find in similar mislabeling cases with classwide exposure to a challenged product
23   label, commonality is satisfied here. See Tran v. Sioux Honey Ass’n, Coop., 2020 WL 905571,
24   at *4 (C.D. Cal. Feb. 24, 2020) (“By definition, all class members were exposed to such
25   representations and purchased [Sioux] products, creating a ‘common core of salient facts.’”
26   (quotation omitted)); Kurtz v. Kimberly-Clark Corp., 321 F.R.D. 482, 531 (E.D.N.Y. 2017)
27   (“The proposed classes present common questions seeking common answers: (1) What do
28   defendants’ ‘flushable’ representations mean to a reasonable consumer?”).
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1          C.     Typicality
2          “Typicality is satisfied ‘when each class member’s claim arises from the same course
3    of events, and each class member makes similar legal arguments to prove the defendants’
4    liability.’” Hadley, 324 F. Supp. 3d at 1118 (quoting Rodriguez v. Hayes, 591 F.3d 1105,
5    1122 (9th Cir. 2010)). “This requirement is ‘permissive and requires only that the
6    representative’s claims are reasonably co-extensive with those of the absent class members;
7    they need not be substantially identical.’” Id. (citing Hanlon v. Chrysler Corp., 150 F.3d
8    1011, 1029 (9th Cir. 1998)). Where “it is alleged that the defendant[] engaged in a common
9    scheme relative to all members of the class, there is a strong assumption that the claims of
10   the representative parties will be typical of the absent members.” Salvagne v. Fairfield Ford
11   Inc., 264 F.R.D. 321, 328 (S.D. Ohio 2009).
12         That is the case here. Barlean’s labeled all Coconut Oils with claims it intended to
13   convey that they are healthy, which constitutes a common scheme. All Class Members were
14   necessarily exposed to this challenged messaging on the labeling of the Coconut Oils and
15   injured in the same manner when they purchased the oils at a price higher than what they
16   would have paid had the labeling not been misleading and unlawful. Plaintiffs’ “claims are
17   typical of the proposed class because they focus on [Barlean’s] acts in labeling its products,
18   which is conduct that applies equally across the Class and not specifically to [plaintiffs].” See
19   Tran, 2020 WL 905571, at *6; accord Allen v. ConAgra Foods, Inc., 331 F.R.D. 641, 655
20   (N.D. Cal. 2019) (“plaintiffs’ legal theory centers on mislabeling and premium pricing, which
21   are typical of the class members’ claims”); Chavez v. Blue Sky Natural Beverage Co., 268
22   F.R.D. 365, 378 (N.D. Cal. 2010) (claim that product label was misleading arose from the
23   same facts and legal theory as other class members and therefore was typical).
24         That Plaintiffs have not purchased every size of every Coconut Oil does not defeat
25   typicality because, “[w]here the challenged conduct is a policy or practice that affects all class
26   members,” the court should “not insist that the named plaintiffs’ injuries be identical with
27   those of the other class members, only that the unnamed class members have injuries similar
28   to those of the named plaintiffs and that the injuries result from the same, injurious course of
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1    conduct.” Des Roches v. Cal. Physicians’ Serv., 320 F.R.D. 486, 504 (N.D. Cal. 2017)
2    (internal quotes and citations omitted). Here, “Plaintiffs’ claims are ‘reasonably co-extensive’
3    with those of the proposed class because they are alleging the same injury based on their
4    purchase of similar products,” which “is sufficient, even though Plaintiffs did not purchase
5    all (or even most) of the challenged products.” Ang v. Bimbo Bakeries USA, Inc., 2018 WL
6    4181896, at *9 (N.D. Cal. Aug. 31, 2018); see also Lilly v. Jamba Juice Co., 308 F.R.D. 231,
7    240 (N.D. Cal. 2014) (“Plaintiffs . . . clearly have a similar alleged injury as the rest of the
8    proposed class, since they purchased products that are the same as, or very similar to, the
9    products challenged by the rest of the proposed class.”); Ogden v. Bumble Bee Foods, LLC,
10   292 F.R.D. 620, 626 (N.D. Cal. 2013) (typicality met “as to products with similar or identical
11   claims about Omega-3 content, as those labels may have misled class members in the same
12   way that they allegedly misled [the plaintiff] even if the products are not the same”).
13         Because each Coconut Oil conveys the message that it is healthy, differences in the
14   words used convey the message do not defeat typicality: the “false and deceptive packaging
15   and marketing of [a product] need not be absolutely uniform or ‘consist of . . . specifically-
16   worded false statement[s] repeated to each and every [member] of the plaintiff class.’”
17   Krueger v. Wyeth, Inc., 310 F.R.D. 468, 479 (S.D. Cal. 2015) (quoting In re First Alliance
18   Mortg. Co., 471 F.3d 977, 992 (9th Cir. 2006)). It is sufficient to show that consumers “were
19   exposed to defendants’ overriding and material misrepresentations of the” products.” Id.; see
20   also Ang, 2018 WL 4181896, at *9 (“class allegations all aver[ing] injury based on”
21   Defendant’s use of one of a variety of labeling claims—the AHA’s Heart-Check Mark,
22   “‘good’ or ‘excellent source of whole grain,’” “bread,” and “‘100% Whole Wheat’”—were
23   “sufficient, even though Plaintiffs did not purchase all (or even most) of the challenged
24   products”); Brazil v. Dole Packaged Foods, LLC, 2014 WL 2466559, at *9 (N.D. Cal. May
25   30, 2014) (typicality met where plaintiff purchased three of ten products).
26         D.      Adequacy
27         Rule 23(a)(4) is satisfied if “the representative parties will fairly and adequately protect
28   the interests of the class,” Fed. R. Civ. P. 23(a)(4). “Resolution of two questions determines
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1    legal adequacy: (1) do the named plaintiffs and their counsel have any conflicts of interest
2    with other class members and (2) will the named plaintiffs and their counsel prosecute the
3    action vigorously on behalf of the class?” Hanlon, 150 F.3d at 1020 (citation omitted); see
4    also Nunez, 292 F. Supp. 3d at 1033.
5          Plaintiffs are adequate representatives because they are bona fide purchasers with
6    standing who relied on the challenged claims in purchasing the Coconut Oils, have no
7    conflicts, are aware of their obligations, and will continue to vigorously prosecute the case
8    for the Class. See Testone Decl. ¶¶ 2-13; Shanks Decl. ¶¶ 2-19; Pierre Decl. ¶¶ 2-12; see also
9    In re Brazilian Blowout Litig., 2011 WL 10962891, at *5 (C.D. Cal. Apr. 12, 2011) (class
10   representatives adequate where they “submitted declarations” stating “they understand their
11   responsibilities as class representatives, that no conflicts exist between their interests and
12   other members of the Class, and that they intend to vigorously pursue all claims asserted in
13   this lawsuit”); Local Joint Exec. Bd. of Culinary/Bartender Trust Fund v. Las Vegas Sands,
14   Inc., 244 F.3d 1152, 1162 (9th Cir. 2001) (A plaintiff is adequate if he “understands his duties
15   and is currently willing and able to perform them. The Rule does not require more.”).
16         Plaintiffs have also retained counsel with no conflicts and significant experience
17   prosecuting consumer fraud class actions, including several similar actions involving
18   deceptive healthy labeling practices on coconut oils that resulted in nationwide class
19   settlements providing the classes both injunctive and monetary relief. See Joseph Decl. ¶¶ 15-
20   20 & Exs. 14-15. Thus, Plaintiffs’ counsel is adequate. See Nunez, 292 F. Supp. 3d at 1035.
21   II.   THE REQUIREMENTS OF RULE 23(B)(3) ARE SATISFIED
22         A.     Predominance
23          “The ‘predominance inquiry tests whether proposed classes are sufficiently cohesive
24   to warrant adjudication by representation.’” Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct.
25   1036, 1045 (2016) (quoting Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 623 (1997)).
26   “When common questions present a significant aspect of the case and they can be resolved
27   for all members of the class in a single adjudication, there is clear justification for handling
28   the dispute on a representative rather than an individual basis.” Hanlon, 150 F.3d at 1022
                                                  14
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1    (quotation omitted). Evaluating predominance “begins . . . with the elements of the underlying
2    cause[s] of action.” Erica P. John Fund, Inc. v. Halliburton Co., 563 U.S. 804, 809 (2011).
3    “[C]ourts look to whether the focus of the proposed class action will be on the words and
4    conduct of the defendants rather than on the behavior of the individual class members.”
5    Kutzman v. Derrel’s Mini Storage, Inc., 2020 WL 406768, at *7 (E.D. Cal. Jan. 24, 2020)
6    (citation omitted). “Class actions in which a defendant’s uniform policies are challenged
7    generally satisfy the predominance requirement of Rule 23(b)(3).” Castro v. Paragon Indus.,
8    Inc., 2020 WL 1984240, at *10 (E.D. Cal. Apr. 27, 2020) (citations omitted). Thus, “[i]n
9    cases alleging misrepresentation, common issues predominate when plaintiffs are exposed to
10   [a] common set of representations about a product.” Schneider v. Chipotle Mexican Grill,
11   Inc., 328 F.R.D. 520, 539-40 (N.D. Cal. 2018) (quotation and quotation marks omitted).
12                1.    The Classes’ Claims will be Resolved through Objective Standards
13                      and Common Evidence that Apply Classwide
14                      a.     Consumer Fraud: Affirmative Misrepresentation
15         “[T]he false advertising standard under the UCL, FAL and CLRA is the same.” Lovette
16   v. Zale Del., Inc., 2019 WL 2492503, at *2 (S.D. Cal. June 13, 2019). “[T]hese laws prohibit
17   ‘not only advertising which is false, but also advertising which[,] although true, is either
18   actually misleading or which has a capacity, likelihood or tendency to deceive or confuse the
19   public,’” Williams v. Gerber Prods. Co., 552 F.3d 934, 938 (9th Cir. 2008) (quoting Kasky v.
20   Nike, Inc., 27 Cal. 4th 939, 951 (2002)). Thus, they “take an objective approach of the
21   reasonable consumer, not the particular consumer.” Hawkins v. Kroger Co., --- F.R.D. ----, -
22   ---, 2020 WL 7421754, at *18 (S.D. Cal. Nov. 9, 2020) (quoting Johns v. Bayer Corp., 280
23   F.R.D. 551, 557 (S.D. Cal. 2012)).
24         Claims under the NY UDBP and NY FAL also use “an objective definition of
25   ‘misleading,’ under which the alleged act must be ‘likely to mislead a reasonable consumer
26   acting reasonably under the circumstances.’” Hasemann v. Gerber Prods. Co., 331 F.R.D.
27   239, 257-58 (E.D.N.Y. 2019) [“Hasemann II”] (quoting Goldemberg, 317 F.R.D. at 389); see
28   also Mantikas v. Kellogg Co., 910 F.3d 633, 637 (2d Cir. 2018). “To successfully assert a
                                                15
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1    claim under either section of the statute, ‘a plaintiff must allege that a defendant has engaged
2    in (1) consumer-oriented conduct that is (2) materially misleading and that (3) plaintiff
3    suffered injury as a result of the allegedly deceptive act or practice.’” Campbell v. Whole
4    Foods Market Group, Inc., 2021 WL 355405, at *4 (S.D.N.Y. Feb. 2, 2021) (quotation
5    omitted). Whether conduct is “consumer-oriented [ ] [does] not vary from plaintiff to
6    plaintiff” when each purchaser was exposed to the challenged claims via a product’s
7    packaging. Hasemann v. Gerber Prods. Co., 2019 WL 2250687, at *13 (E.D.N.Y. Feb. 20,
8    2019) [“Hasemann I”].
9          “The primary evidence in a false advertising case is the advertising itself,” Brockey v.
10   Moore, 107 Cal. App. 4th 86, 100 (2003), and “[t]he ‘misleading character’ of a given
11   representation ‘appears on applying its words to the facts.’” Jefferson v. Chase Home Fin.,
12   2008 WL 1883484, at *17 (N.D. Cal. Dec. 14, 2007) (quoting Colgan v. Leatherman Tool
13   Group, Inc., 135 Cal. App. 4th 663, 679 (2006)). This means a violation under the UCL and
14   FAL “can be shown even if no one was actually deceived, relied upon the fraudulent practice,
15   or sustained any damage.” See State Farm Fire & Casualty Co.v. Super. Ct., 45 Cal. App. 4th
16   1093, 1105 (1996); see also Steroid Hormone Prod. Cases, 181 Cal. App. 4th 145, 154 (2010)
17   (“once the named plaintiff” shows injury, “no further individualized proof of injury or
18   causation is required”). Similarly, under New York law, “[n]either section 349 nor section
19   350 contains a reliance requirement, and a proper claim under section 349 or 350 does not
20   require proof that a consumer actually relied on the misrepresentation.” Hasemann II, 331
21   F.R.D. at 257 (citing In re Scotts EZ Seed Litig., 304 F.R.D. 397, 409 (S.D.N.Y. 2015)).
22         “Materiality is part of the ‘reasonable consumer’ standard . . . in that reasonable
23   consumers are not deceived by immaterial claims.” Park v. Cytodyne Techs., Inc., 2003 WL
24   21283814, at *2 (Cal. Super. Ct. May 30, 2003). Moreover, although the CLRA “requires
25   that plaintiffs . . . show not only that a defendant’s conduct was deceptive but that the
26   deception caused them harm,” at trial, this element “is commonly proved [classwide] more
27   likely than not by materiality,” Mass. Mut. Life Ins. Co. v. Super. Ct., 97 Cal. App. 4th 1282,
28   1292 (2002) (quoting Blackie v. Barrack, 524 F.2d 891, 907 n.2 (9th Cir. 1975)), since, “if .
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1    . . material misrepresentations were made to the class members, at least an inference of
2    reliance would arise as to the entire class,” Vasquez v. Super. Ct., 4 Cal. 3d 800, 814 (1971).
3          A “representation is ‘material’ . . . if a reasonable consumer would attach importance
4    to it or if ‘the maker of the representation knows or has reason to know that its recipient
5    regards or is likely to regard the matter as important in determining his choice of action.’”
6    Hinojos v. Kohl’s Corp., 718 F.3d 1098, 1107 (9th Cir. 2013) (quoting Kwikset Corp. v.
7    Super. Ct., 51 Cal. 4th 310, 333 (2011)); see also Mullins v. Premier Nutrition, 2016 WL
8    1535057, at *5 (N.D. Cal. Apr. 15, 2016) (“[M]ateriality may be established by common
9    proof ‘[b]ecause materiality is judged according to an objective standard,’ and so ‘[t]he
10   alleged misrepresentations and omissions, whether material or immaterial, would be so
11   equally for all [consumers] composing the class.’” (quoting Amgen, 568 U.S. at 459)).
12         While Plaintiffs don’t need to prove materiality at certification, see Hadley, 324 F.
13   Supp. 3d at 1115, here, as described above, the record is ripe with evidence of materiality,
14   including Barlean’s testimony, see Puckett 30(b)(6) Dep. Tr. at 96:3-6, 96:19-22, 96:23-97:3,
15   120:17-121:1, 128:21-24, 133:24-134:1, 134:19-22, 135:2-6, 148:14-149:8, 157:8-17, 160:3-
16   10, 165:2-13, showing that it “knows or has reason to know that [a coconut oil purchaser]
17   regards or is likely to regard [the message that the Coconut Oils are healthy] as important in
18   determining his choice of action.” See Hinojos, 718 F.3d at 1107 (quoting Kwikset Corp., 51
19   Cal. 4th at 333). Moreover, the FDA’s regulations prohibiting Barlean’s use of the challenged
20   nutrient content claims establishes materiality as a matter of law because “the legislature’s
21   decision to prohibit a particular misleading advertising practice is evidence that the legislature
22   has deemed that the practice constitutes a ‘material’ misrepresentation, and courts must defer
23   to that determination.” Rahman v. Mott’s LLP, 2014 WL 6815779, at *7 (N.D. Cal. Dec. 3,
24   2014) (quotation and citation omitted).4
25         Because “deception and materiality under the FAL, CLRA, and UCL are objective
26
27
     4
      A primary purpose of the FDA in regulating nutrient content claims was “[t]o ensure that
     consumers are not misled and are given reliable information.” 56 Fed. Reg. 60045, 60422
28   (Nov. 27, 1991).
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1    questions,” Hadley, 324 F. Supp. 3d at 1115, such claims are “ideal for class certification
2    because they will not require the court to investigate class members’ individual interaction
3    with the product.” Bradach v. Pharmavite, LLC, 735 Fed. App’x 251, 254-55 (9th Cir. 2018)
4    (quoting Tait v. BSH Home Appliances Corp., 289 F.R.D. 466, 480 (C.D. Cal. 2012)). The
5    same is true under N.Y. Gen. Bus. L. §§ 349 & 350—they “are considered ideal for class
6    certification because they allow the court to adopt classwide presumptions of reliance and do
7    not require an investigation into class members’ individual interaction with the product.”
8    Ackerman v. Coca-Cola Co., 2013 WL 7044866, at *10 (E.D.N.Y. July 18, 2013).
9          Here, because each Class Member was exposed to the challenged conduct, “the
10   predominating common issues include whether [defendant] misrepresented” that the Coconut
11   Oils are healthy, “and whether the misrepresentations were likely to deceive a reasonable
12   consumer.” See Johns, 280 F.R.D. at 557 ; cf. Krommenhock, 334 F.R.D. at 563-66; Hadley
13   III, 324 F. Supp. 3d at 1094-103; In re Ferrero Litig., 278 F.R.D. 552, 560 (S.D. Cal. 2011).
14   The answers to these objective questions will apply to all Class Members equally, such that
15   their claims will rise or fall together. See Rodman v. Safeway, Inc., 2014 WL 988992, at *9
16   (N.D. Cal. Mar. 10, 2014) (“The scope and proper interpretation of the objective words of the
17   parties’ agreement is a common question that applies commonly to all members of the class,
18   is an issue whose resolution will drive resolution of the litigation, and will predominate over
19   any individualized issues.”); Harte v. Ocwen Fin. Corp., 2018 WL 1830811, at *34 (E.D.N.Y.
20   Feb. 8, 2018) (whether conduct is consumer-oriented under GBL § 349 “is ultimately a matter
21   of law that would apply equally to all members across the board,” “[r]egardless of the class
22   members’ individual circumstances”).
23         Further, whether the health message is likely to mislead the reasonable consumer can
24   be proven through common evidence, like the scientific literature as explained by Dr. Greger,
25   that applies equally to all Class Members. See Hadley, 324 F. Supp. 3d at 1101 (“the falsity
26   or deceptiveness of the challenged health statements . . . will be determined based solely on
27   whether the health statements are likely to deceive or mislead a hypothetical reasonable
28   consumer in light of the amount of added sugar . . . [in] those products.” ); id. at 1115 (“With
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1    regards to deception . . . Plaintiff has offered evidence of the nutritional content of the
2    challenged products, as well as the testimony of two scientific experts, Drs. Lustig and
3    Greger, explaining the physiological effects of consuming the products and opining as to the
4    veracity of their health and wellness claims . . . .”); Krommenhock, 334 F.R.D. at 569.
5          In sum, because each Class Member was exposed to the challenged labeling, whether
6    Barlean’s labeling practices are misleading under the reasonable consumer standard will
7    apply equally to all. See Hilsley v. Ocean Spray Cranberries, Inc., 2020 WL 520616, at *2
8    (S.D. Cal. Jan. 31, 2020) (“common questions of law and fact” that “predominate over
9    individual questions” included, “whether Ocean Spray’s representations . . . were false and
10   misleading or reasonably likely to deceive consumers”); Hasemann I, 2019 WL 2250687, at
11   *13 (“Because the individual consumer’s expectations and experience have no bearing on
12   liability or damages, ‘courts regularly certify classes alleging § 349 violations when the injury
13   was payment of a price premium.’” (quoting In re Amla Litig., 320 F. Supp. 3d 578, 592-93
14   (S.D.N.Y. 2018) (collecting cases)))
15                       b.     Consumer Fraud: Deceptive Omission
16         Under California law, a duty to disclose material facts arises, inter alia, when the
17   defendant “had exclusive knowledge of material facts not known to the plaintiff[] . . . actively
18   conceal[ed] a material fact from the plaintiff[, or] . . . ma[de] partial representations but also
19   suppresse[d] some material fact.” Falk v. Gen. Motors Corp., 496 F. Supp. 2d 1088, 1095
20   (N.D. Cal. 2007) (quotation omitted). Similarly, under New York law, “when a defendant
21   exclusively possesses information that a reasonable consumer would want to know and could
22   not discover without difficulty, failure to disclose can constitute a deceptive or misleading
23   practice.” Woods v. Maytag Co., 807 F. Supp. 2d 112, 129 (E.D.N.Y. 2011) (quotation and
24   citations omitted). Further, under California’s and New York’s consumer protection statutes,
25   manufacturers are obligated to disclose safety concerns. See Wilson v. Hewlett-Packard Co.,
26   668 F.3d 1136, 1141-43 (9th Cir. 2012); Guido v. L’Oreal USA, Inc., 2013 WL 454861, at
27   *7 (C.D. Cal. Feb. 6, 2013) (“New York also accepts the rule of thumb that nondisclosures
28   about the safety of a consumer product are material.” (citation omitted)).
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1          “To prove reliance on an omission, a plaintiff must show that the defendant’s
2    nondisclosure was an immediate cause of the plaintiff’s injury-producing conduct,” which he
3    may do “by simply proving ‘that, had the omitted information been disclosed, one would
4    have been aware of it and behaved differently.’” Daniel v. Ford Motor Co., 806 F.3d 1217,
5    1225 (9th Cir. 2015) (quotation omitted); see also Daly v. Capital Mgmt. Servs., LP, 2015
6    WL 4662759, at *4 (W.D.N.Y. Aug. 6, 2015) (materiality standard is “an objective one,
7    requiring a plaintiff to show the act [or omission] was ‘likely to mislead a reasonable
8    consumer acting reasonably under the circumstances.’” (quoting Spagnola v. Chubb Corp.,
9    574 F.3d 64, 74 (2d Cir. 2009))). “That one would have behaved differently can be presumed,
10   or at least inferred, when the omission is material.” Daniel, 806 F.3d at 1225 (citation
11   omitted). Accordingly, “courts have found exposure and reliance suitable for class-wide
12   resolution in cases where,” as here, “the class was defined as all purchasers of a product and
13   the plaintiffs’ CLRA and UCL claims were based on information omitted from the product’s
14   packaging.” Butler v. Porsche Cras N. Am., Inc., 2017 WL 1398316, at *10 (N.D. Cal. Apr.
15   19, 2017). “In these cases, all class members were ‘necessarily exposed’ to the defendant’s
16   omissions on the package prior to purchase, and all class members would have been aware of
17   a disclosure on the packaging had a disclosure been made.” Id. (citing In re NJOY, Inc.
18   Consumer Class Action Litig., 120 F. Supp. 3d 1050, 1105 (C.D. Cal. 2015) (collecting
19   cases)). Thus, whether Barlean’s had a duty to disclose, and whether its omissions were
20   material and deceptive, are predominating common questions.
21                      c.     Breach of Warranty
22         California Plaintiffs seek certification of their warranty claims, which requires showing
23   that “(1) the seller’s statements constitute an affirmation of fact or promise or a description
24   of the goods; (2) the statement was part of the basis of the bargain; and (3) the warranty was
25   breached.” In re ConAgra Foods, 90 F. Supp. 3d 919, 984 (C.D. Cal. 2015) (quotation
26   omitted); see also Cal. Com. Code §§ 2313(1)(a)-(b). Because each members were exposed
27   to the misleading message that the Products are healthy, “[w]hether such [] statement[s]
28   constitute[] an express warranty, [and] whether that warranty was breached . . . are issues
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1    subject to common and generalized proof.” Martin v. Monsanto Co., 2017 WL 1115167, at
2    *7 (C.D. Cal. Mar. 24, 2017). And “[b]ecause reliance is not an element of express warranty
3    claims under California law, common questions predominate and class action treatment is
4    appropriate.” In re Scotts EZ Seed Litig., 304 F.R.D. at 411 (citations omitted); see also
5    Hadley, 324 F. Supp. 3d at 1117-18.
6                        d.    “Unlawful” Misbranding
7           The Class alleges predicate violations of California’s Sherman Law and New York’s
8    Agriculture and Marketing law, which have adopted FDA and FDCA regulations as their
9    own. See FAC. ¶¶ 78-123 (alleging violations of 21 C.F.R. §§ 1.21, 101.13(h)(1), 101.54,
10   101.62, 101.65); Wang v. Massey Chevrolet, 97 Cal. App. 4th 856, 871 (2002); Ackerman v.
11   Coca-Cola Co., 2010 WL 2925955, at *4 (E.D.N.Y. July 21, 2010) (“California, [and] New
12   York . . . broadly prohibit the misbranding of food in language largely identical to that found
13   in the FDCA.”). UCL liability for such misbranding violations does “no[t] require[] that the
14   public be likely to experience deception.” Bruton v. Gerber Prods. Co., 703 Fed. App’x 468,
15   472 (9th Cir. 2017). Rather, “[t]he label is either illegal or it is not,” Ang v. Bimbo Bakeries
16   USA, Inc., 2014 WL 1024182, at *8 (N.D. Cal. Mar. 13, 2014). Accordingly, resolving
17   Plaintiffs’ misbranding claims requires only applying the regulations to the labels to
18   determine their compliance. Barlean’s liability is thus a predominating common question
19   because misbranding “do[es] not depend upon any issues specific to individual consumers,”
20   Lilly v. Jamba Juice Co., 308 F.R.D. 231, 242 (N.D. Cal. 2014), and a determination of its
21   liability for misbranding will apply to all Class Members equally. See Rahman, 2014 WL
22   6815779, at *5 (common questions included “whether the challenged statement violates
23   relevant FDA regulations”); Hadley, 324 F. Supp. 3d at 1095-96, 1117 (predominance
24   satisfied for misbranding claims); Hilsley v. Ocean Spray Cranberries, Inc., 2018 WL
25   6300479, at *11-12 (S.D. Cal. Nov. 29, 2018) (same).
26                2.     The Classes’ Damages Models are Consistent with its Theories of
27                       Liability, and Capable of Measuring Classwide Damages
28         At certification, a plaintiff must show “damages are capable of measurement on a
                                                  21
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1    classwide basis,” in a manner “consistent with [the] liability case,” Comcast Corp. v.
2    Behrend, 569 U.S. 27, 34-35 (2013) [“Comcast”] (quotation omitted). “The first step in a
3    damages study is the translation of the legal theory of the harmful event into an analysis of
4    the economic impact of that event.” Id. at 38 (citation and emphasis omitted). Here, Plaintiffs
5    allege Barlean’s misrepresentations, omissions, and breaches of warranty increased the
6    products’ market price relative to their true value, and each New York Class further alleges
7    statutory damages are available upon a showing of injury.
8                       a.     The Class’s Price Premium Damages Model is Consistent with
9                              Plaintiffs’ Affirmative Misrepresentation, Deceptive Omission,
10                             and Breach of Warranty Claims
11         The UCL, FAL, and CLRA all “authorize a trial court to grant restitution to private
12   litigants asserting claims under those statutes.” Colgan, 135 Cal. App. 4th at 694 (citations
13   omitted); see also Cal. Bus. & Prof. Code §§ 17203, 17535; Cal. Civ. Code § 1780(a)(3).
14   “Class wide damages calculations under the UCL, FAL, and CLRA are particularly forgiving.
15   California requires only that some reasonable basis of computation of damages be used, and
16   the damages may be computed even if the result reached is an approximation.’” Lambert v.
17   Nutraceutical Corp., 870 F.3d 1170, 1183 (9th Cir. 2017) (quotation omitted).
18         “It is well-established that the price premium attributable to an alleged
19   misrepresentation on product labeling or packaging is a valid measure of damages in a
20   mislabeling case,” Hadley, 324 F. Supp. 3d at 1104 (internal quotation marks and citations
21   omitted). Conjoint analysis is “widely-accepted as a reliable economic tool for isolating price
22   premia,” id. at 1110; see also Odyssey Wireless, Inc. v. Apple Inc., 2016 WL 7644790, at *9
23   (S.D. Cal. Sept. 14, 2017) (conjoint is “a generally accepted method for valuing the individual
24   characteristics of a product”); Miller v. Fuhu Inc., 2015 WL 7776794, at *21 (C.D. Cal. Dec.
25   1, 2015).
26         The Ninth Circuit recently confirmed that “plaintiffs can measure class-wide damages
27   using methods that evaluate what a consumer would have been willing to pay for the product
28   had it been labeled accurately,” so long as those methods “reflect supply-side considerations
                                                    22
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1    and marketplace realities that would affect product pricing.” Zakaria v. Gerber Prods. Co.,
2    755 Fed. App’x 623, 624 (9th Cir. 2018). In mislabeling cases, like this, courts have:
3          found that conjoint analyses can adequately account for supply-side factors—
4          and can therefore be utilized to estimate price premia without running afoul
           of Comcast—when (1) the prices used in the surveys underlying the analyses
5          reflect the actual market prices that prevailed during the class period; and (2)
6          the quantities used (or assumed) in the statistical calculations reflect the actual
           quantities of products sold during the class period.
7
8    See Hadley, 324 F. Supp. 3d at 1105; accord Hudock v. LG Elecs. U.S.A., Inc., 2020 WL
9    4676285, at *8 (D. Minn. Aug. 12, 2020) (“[T]wo factors—(1) real-world market prices and
10   (2) holding the quantity supply fixed—adequately account for supply-side factors in CBC
11   analyses.” (citation omitted)); Fitzhenry-Russell v. Pepper Snapple Grp. Inc., 326 F.R.D. 592,
12   606 (N.D. Cal. 2018) (proposed conjoint analysis “calculated the price premium consumers
13   paid for the [challenged] claim,” because the conjoint survey (1) “used actual market-clearing
14   prices”; and “(2) took into account the fixed quantity of supply of [the product]”). 5
15         Here, survey expert Dr. Dennis has designed and will conduct a conjoint analysis to
16   isolate and quantify the market price premium associated with the Challenged Claims, which
17   then can be used to calculate the amount of restitution and damages owed to the Classes. See
18   Dennis Decl. ¶¶ 7-17, 34-64, 90-94 (explaining nature of conjoint surveys, summarizing the
19   steps he will follow to implement the conjoint survey and analysis, obtaining an appropriate
20   sample of respondents, and engaging in pretesting). Dr. Dennis also identifies the product
21   attributes that will be included in the survey (Brand, Nutrition Facts, Container Type, Label
22   Claims on Products, and Price), and the reasons for selecting these attributes. Id. ¶¶ 76-89.
23         In addition to following accepted conjoint survey design principles, id. ¶¶ 65-75, Dr.
24   Dennis will account for supply-side factors both in the survey and in his market simulation.
25   First, the price attribute in the survey will reflect real-world prices paid by actual purchasers.
26
27
     5
      See also Banh v. Am. Honda Motor Co., Inc., 2020 WL 4390371, at *18-19 (C.D. Cal. July
     28, 2020); Johannessohn v. Polaris Indus., Inc., 2020 WL 1536416, at *19, *22-23 (D. Minn.
28   Mar. 31, 2020); Hilsley, 2018 WL 6300479, at *15-16.
                                                  23
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1    See id. ¶¶ 16, 68, 86-88, 101. Second, “the quantity used” in the market simulator will “reflect
2    the actual quantity of products supplied during the Class Period,” id. ¶¶ 16, 67, 69.
3          Because Dr. Dennis’s survey incorporates real market prices and uses the same
4    quantity of products in his market simulation as were sold in the real world (i.e., holding
5    quantity fixed), his survey properly accounts for supply-side factors. See Martinelli v.
6    Johnson & Johnson, 2019 WL 1429653, at *4 (E.D. Cal. Mar. 29, 2019) (declining to strike
7    testimony of Dr. Dennis and Colin B. Weir where “the conjoint analysis . . . factored supply-
8    side data into its design”). Once the conjoint analysis reveals the price premia attributable to
9    the Challenged Claims, those premia “can then be multiplied by the number of units
10   purchased by each class member to determine both total and individual damages.” Zakaria,
11   2016 WL 6662723, at *16; see also Weir Decl. ¶¶ 59-61. Thus, Plaintiffs have adequately
12   provided a model for measuring classwide damages.
13                       b.    The New York Class’s Statutory Damages Model is Consistent
14                             with Plaintiffs’ Claims Under N.Y. Gen. Bus. L. §§ 349 & 350.
15         Conjoint can be used to measure actual damages for claims under NY GBL §§ 349 &
16   350. See Kurtz, 321 F.R.D. at 551 (conjoint is a “reliable method[] available for calculating
17   the price premium attributable to a product characteristic”); Hasemann I, 2019 WL 2250687,
18   at *11 (“Courts across the country, including those in this Circuit, have recognized conjoint
19   analysis . . . as [an] effective and ‘well-established damages model[].’” (quotation omitted)
20   (collecting cases)). But the statutes also authorize recovery of statutory damages, and it is
21   “well established that ‘statutory damages under section 349(h) are available on a class basis
22   in federal court,’” Rodriguez v. It’s Just Lunch Int’l, 2018 WL 3733944, at *9 (S.D.N.Y. Aug.
23   6, 2018) (quoting Kurtz, 321 F.R.D. at 502)); accord Famular v. Whirlpool Corp., 2019 WL
24   1254882, at *11 (S.D.N.Y. Mar. 19, 2019); Guido v. L’Oreal, USA, Inc., 2013 WL 3353857,
25   at *16-17 (C.D. Cal. July 1, 2013). “Once an injury is established, statutory damages can be
26   precisely calculated,” Kurtz, 321 F.R.D. at 551, and are equal to “the number of units sold in
27   New York [ ] multiplied by the $50 statutory minimum for GBL Section 349 violations and
28   $500 statutory minimum for GBL Section 350 violations,” Famular, 2019 WL 1254882, at
                                                 24
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1    *11. Here, Mr. Weir will “use[] [ ] sales data numbers . . . and total retail sales for the number
2    of ‘violations’ and multipl[y] that by the statutory amounts of $50 (for the New York GBL
3    Section 349 claim) and $500 (for the New York GBL Section 350 claim).” See In re Scotts
4    EZ Seed Litig., 2017 WL 3396433, at *11 (S.D.N.Y. Aug. 8, 2017); Weir Decl. ¶ 62.
5    “Accordingly, plaintiff[s’] statutory damages model is consistent with the proposed theory of
6    liability,” Famular, 2019 WL 1254882, at *11.
7          B.     Superiority
8          Whether “a class action is superior . . . for fairly and efficiently adjudicating the
9    controversy” depends on “(A) the class members’ interests in individually controlling the
10   prosecution or defense of separate actions; (B) the extent and nature of any litigation
11   concerning the controversy already begun by or against class members; (C) the desirability
12   or undesirability of concentrating the litigation of the claims in the particular forum; and (D)
13   the likely difficulties in managing a class action.” Fed. R. Civ. P. 23(b)(3).
14         Here, because the products at issue cost less than $50, Dennis Decl. ¶ 88, Class
15   Members have no interest in controlling individual actions, which is often considered enough
16   to satisfy superiority. See Tait, 289 F.R.D. at 486 (Superiority “is met ‘[w]here recovery on
17   an individual basis would be dwarfed by the cost of litigating on an individual basis.’”
18   (quotation omitted)). In addition, Plaintiffs are unaware of any other related litigation. Mr.
19   Testone is a resident of this district, and Barlean’s purposely availed itself of the benefits of
20   conducting business in this district, making it a preferable location. Finally, this case focuses
21   on Barlean’s labeling practices, minimizing manageability concerns, which in any event
22   cannot scuttle class certification “if no realistic alternative exists.” See Valentino v. Carter-
23   Wallace, Inc., 97 F.3d 1227, 1234-35 (9th Cir. 1996). Thus, superiority is satisfied.
24                                           CONCLUSION
25         The Court should grant the motion.
26
27   Dated: March 1, 2021              Respectfully submitted,
28                                     /s/ Paul K. Joseph
                                                 25
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